       Case 2:20-cv-00079-WJ-CG Document 60 Filed 09/25/20 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

ST. PAUL FIRE AND MARINE
INSURANCE CO., et al.,
            Plaintiffs,
v.                                                            CV No. 20-79 WJ/CG

SEDONA CONTRACTING, INC., et al.,
           Defendants,
__________________________

MOSAIC POTASH CARLSBAD, INC.,
          Third-Party Plaintiff,
v.

ROCKCLIFF OPERATING NEW MEXICO, LLC.
           Third-Party Defendant,
__________________________

MOSAIC POTASH CARLSBAD, INC.,
          Cross-Claimant,
v.

SEDONA CONTRACTING, INC.,
         Cross-Defendant.

                      ORDER SETTING EXPEDITED BRIEFING

      THIS MATTER is before the Court on Plaintiff’s Motion Pursuant to Federal Rule

56(d) to Stay the Response to Sedona’s Motion for Summary Judgment (the “Motion”),

(Doc. 57), filed September 11, 2020. Defendants’ response to the Motion is currently

due Friday, October 2, 2020. To facilitate a timely disposition of the Motion, the Court

hereby enters an expedited briefing schedule.

      IT IS THEREFORE ORDERED that Plaintiff may file a reply to the Motion no

later than 5:00 p.m. on Thursday, October 8, 2020.

      IT IS SO ORDERED.

                                  _________________________________
                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
